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      Fresenius Medical Care North America
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   17
   18                       UNITED STATES DISTRICT COURT
   19                      CENTRAL DISTRICT OF CALIFORNIA
   20                                  SOUTHERN DIVISION
   21
   22 JANE DOE, et al.,                         No. 8:19-cv-02105 DOC (ADSx)

   23                                           JOINT STATUS REPORT
                        Plaintiffs.
   24                                           Judge David O. Carter
          v.
   25 ROB BONTA, in his official capacity as    Date:         n/a
                                                Time:         n/a
   26 Attorney General; et al.,                 Trial Date:   n/a
   27                  Defendants.

   28

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    1         Pursuant to the Court’s February 8, 2024 Order (ECF No. 211) and April 4,
    2 2024 Order (ECF No. 214), the parties, by and through their attorneys of record,
    3 hereby submit this Joint Status Report.
    4         On January 9, 2024, the Court issued an order with its rulings on the parties’
    5 cross motions for summary judgment (the “Summary Judgment Order”). See ECF
    6 No. 207. On February 8, 2024, the Court—at the parties’ stipulated request—
    7 issued an order which (i) confirmed that the Summary Judgment Order was not
    8 intended to operate as a final judgment, and (ii) instructed the parties to meet and
    9 confer and to file, within 21 days of an order resolving any motion(s) for
   10 reconsideration of the Summary Judgment Order, a joint status report regarding the
   11 parties’ proposed resolution of any outstanding issues for consideration by the
   12 Court. See ECF No. 211. On April 4, 2024, the Court issued an order denying
   13 Defendants’ motion for reconsideration, which reiterated that directive to the
   14 parties to file a joint status report within 21 days. See ECF No. 214 at 4.
   15         The parties have now met and conferred and agree that there do not remain
   16 any outstanding issues for consideration by the Court. The parties have also
   17 exchanged drafts of a proposed Final Judgment, Permanent Injunction, and Stay
   18 Pending Appeal and are in the process of negotiating comparatively minor issues
   19 related to the proposed filing and obtaining internal approvals of the same. The
   20 parties anticipate that they will submit for the Court’s consideration an agreed-
   21 upon, proposed Final Judgment, Permanent Injunction, and Stay Pending Appeal
   22 on or before May 2, 2024. If the parties have not reached agreement by May 2, the
   23 parties will submit a further Joint Status Report on or before that date.
   24
   25   Dated:        April 25, 2024              Respectfully submitted,
   26
        /s/ Eric A. Shumsky                       /s/ Kelly P. Dunbar
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    1                                    ATTESTATION
    2
    3         I, Kelly Dunbar, hereby attest that all other signatories listed above concur in
    4 this filing’s content and have authorized me to make this filing.
    5
    6   Dated: April 25, 2024                          /s/ Kelly Dunbar
    7                                                         Kelly Dunbar

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